
80 So.3d 487 (2012)
STATE ex rel. Jessie Lee MARTIN
v.
STATE of Louisiana.
No. 2011-KH-1054.
Supreme Court of Louisiana.
February 10, 2012.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; State v. Parker, 98-0256 (La.5/8/98), 711 So.2d 694; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172. See also State v. Cotton, 09-2397 (La.10/15/10), 45 So.3d 1030.
